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             UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF NEW YORK
             -----------------------------------------------------X
             UNITED STATES OF AMERICA,

                            -against-                                  MEMORANDUM OF
                                                                       DECISION AND ORDER
                                                                       Cr No. 04-455 (ADS) (ARL)
             STEVEN INGRASSIA, SLAVA VOLMAN,
             NICHOLAS ANTONELLI,
             JEFFREY BASSIN, CARL CUNZIO,
             JOHN FLANAGAN, OTTO KOZAK,
             ROBERT KOZAK, and
             PATRICK MCFADDEN,

                                             Defendants.
             ------------------------------------------------------X
             APPEARANCES:

             ROSLYNN R. MAUSKOPF, UNITED STATES ATTORNEY
             EASTERN DISTRICT OF NEW YORK
             One Pierrepont Plaza
             Brooklyn, New York 11201
                    By:     Thomas Richard Fallati, Assistant U.S. Attorney

             JAMES J. DIPIETRO, ESQ.
             Co-counsel for defendant Jeffrey Bassin
             186 Joralemon Street
             Brooklyn, New York 11201

             STEVEN ROSS, ESQ.
             Co-counsel for defendant Jeffrey Bassin
             270 Madison Avenue
             Suite 1203
             New York, New York 10016
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             BECHTLE & MURPHY, ESQS.
             Attorneys for defendant Carl Cunzio
             666 Old Country Road–Suite 210
             Garden City, New York 11530
                    By:      Eugene W. Bechtle, Jr., Esq.

             CHARLES S. HOCHBAUM, P.C.
             Attorneys for defendant John Flanagan
             44 Court Street, Suite 307
             Brooklyn, NY 11201
                    By:      Charles Samuel Hochbaum, Esq.

             JOHN S. WALLENSTEIN, ESQ.
             Attorney for Robert Kozak
             215 Hilton Avenue
             PO Box 1200
             Hempstead, NY 11551

             GROSSMAN & RINALDO
             Attorney for Otto Kozak
             108-18 Queens Boulevard
             Forest Hills, NY 11375
                     By:    Stuart J. Grossman, Esq.

             TIMOTHY J. McINNIS, ESQ.
             Attorney for Patrick McFadden
             521 Fifth Avenue, Suite 1700
             New York, New York 10175

             SPATT, District J.

             I.     Introduction

                    This case involves allegations of a “boiler room” securities fraud scheme involving

             principals and representatives of Donald & Co., a brokerage firm that was located in



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             Garden City, New York (the “firm”). Currently pending before the Court are several

             motions by one of the defendants, Carl Cunzio (“Cunzio” or the “Defendant”), in which

             defendant Patrick McFadden (“McFadden”) also joins in. The motions include: (1) a

             motion to dismiss the indictment pursuant to Rule 7(c)(1) of the Federal Rules of Criminal

             Procedure (“Fed. R. Crim. P.”) on the ground that it fails to provide the defendant with

             adequate notice of the offenses charged; (2) a motion pursuant to Fed. R. Crim. P. 7(f) for a

             Bill of Particulars; (3) a motion under Fed. R. Crim. P. 12 and 16 to comply with certain

             discovery obligations; and (4) a motion to compel the Government to furnish all relevant

             information concerning informants, confidential informants, witnesses, informers, confidential

             sources, sources of information, infiltrators, cooperating individuals, security informers or

             intelligence assets who participated in any way or who are material witnesses to any of the

             events charged in the indictment.

                     Also pending is a motion by the Government under the Crime Victims Rights Act,

             18 U.S.C. § 3771, to notify the multiple victims of this crime by publication.

             II.     Summary of Alleged Facts

                     On May 12, 2004, a thirteen count indictment was filed against Cunzio and

             McFadden along with Steven Ingrassia, Slava Volman, Nicholas Antonelli, Jeffrey Bassin,

             John Flanagan, Otto Kozak, and Robert Kozak (collectively the “Defendants”). The

             indictment charged the Defendants with Conspiracy to Commit Securities Fraud, Securities

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             Fraud, and Conspiracy to Commit Money Laundering. The defendants Ingrassia and

             Volman are also charged with one substantive count of Money Laundering. The indictment

             alleges that from May 1999 through July 2002, the Defendants devised and carried out a

             scheme to manipulate the market price of certain stocks that were traded on the NASDAQ

             Small Capitalization stock market and Over-the-Counter Bulletin Board market

             (“NASDAQ”).

                     All of the Defendants were employed at Donald & Co. in Garden City, New York.

             Cunzio and McFadden were stock brokers, also referred to as “registered representatives,”

             who purchased and sold securities for the firm’s customers. Cunzio was employed at

             Donald & Co. from October 2000 to July 2002. McFadden was employed at Donald &

             Co. from January 2002 to May 2002. Both Cunzio and McFadden reported to defendants

             Steven Ingrassia and Slava Volman, who managed the Garden City office of Donald & Co.

             and supervised the stock brokers.

                     The “boiler room” or “pump and dump” scheme, as it is described in the

             Government’s papers, involved acquiring and controlling large blocks of certain stocks. In

             such a scheme, large quantities of certain stocks were purchased by Donald & Co., then

             manipulated to inflate the price, and then sold to unwitting customers. Two stocks that the

             indictment alleges the Defendants used in this scheme were Elec Communications (“Elec”)

             and the Classica Group, Inc (“Classica”). These two stocks, along with others, are referred

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             to in the indictment as the “House Stocks.” A “house stock” is a term used for a stock that

             a firm has an incentive to market. The indictment alleges that the Defendants paid and

             accepted excessive and undisclosed commissions and payoffs as an incentive to induce

             customers to buy the House Stocks.

                     The indictment further alleges that the Defendants would manipulate the price of the

             House Stocks by: (1) making fraudulent representations; (2) using high pressure and

             deceptive sales tactics; (3) making unauthorized trades; (4) refusing to execute customer

             sale orders of House Stocks unless the sale was matched with a purchase of the same stock

             by another client; and (5) paying and accepting excessive and undisclosed commissions and

             payoffs as an incentive to induce customers to buy the House Stocks. These practices were

             not disclosed to the customers at the time of their purchase of House Stocks. Based on

             these allegations, the indictment charges the Defendants with conspiracy and two substantive

             counts of securities fraud.

                     The indictment lists ten separate overt acts that were committed in furtherance of the

             securities fraud conspiracy. Specifically, the indictment states that on October 11, 2001,

             Cunzio made a false and misleading statement to a Donald & Co. customer concerning the

             Classica stock. The indictment also states that on April 29, 2002, McFadden caused a sale

             of approximately 10,000 shares of Classica stock to be made in the account of a Donald &

             Co. customer.

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                      In addition, the indictment charges the Defendants with conspiracy to launder the

             proceeds of the fraudulent scheme. The indictment alleges that Cunzio and McFadden,

             along with the other Defendants, conspired to engage in financial transactions with the

             knowledge that the funds were the proceeds of fraud and that the transactions were

             designed to conceal the nature and source of the funds. In particular, the indictment states

             that the Defendants would accumulate profits from the fraudulent scheme in investment

             accounts at Donald & Co. in their own names and in the names of friends and nominees.

             III.     Discussion of the Defendant’s Motions

                      A.      Motion to Dismiss the Indictment

                      A valid indictment must contain a ''plain, concise and definite written statement of the

             essential facts constituting the offense charged.'' Fed. R. Crim. P. 7(c)(1); see United States

             v. Bustos de la Pava, 268 F.3d 157, 162 (2d Cir. 2001). An indictment must be specific

             enough to permit a defendant to prepare a defense, thereby conforming to the Sixth

             Amendment's requirement that a defendant ''be informed of the nature and cause of the

             accusation.'' U.S. Const. amend. VI; United States v. Walsh, 194 F.3d 37, 44 (2d Cir.

             1999).

                      An indictment must also set forth the elements of the crime to insure that a defendant

             is not ''convicted on the basis of facts not found by, and perhaps not even presented to, the

             grand jury which indicted him.'' Russell v. United States, 369 U.S. 749, 770 (1962). This

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             can be accomplished by tracking the language of the statute. See United States v. Bagaric,

             706 F.2d 42, 61 (2d Cir. 1983).

                     As for factual allegations, the Second Circuit has “repeatedly refused, in the absence

             of any showing of prejudice, to dismiss . . . charges for lack of specificity.” United States v.

             McClean, 528 F.2d 1250, 1257 (2d Cir. 1976). Defendants who seeks to challenge the

             specificity of the indictment must alert the court in detail as to those particular portions that

             are lacking and explain why greater specificity is required. United States v. Crowley, 236

             F.3d 104, 106 (2d Cir. 2000).

                     Here, Cunzio contends that he made thousands of trades while employed at Donald

             & Co. and the only mention of him in the indictment states that he made false and misleading

             statements to Donald & Co. customers with regard to Classica stock. Cunzio states that

             during the time period covered in the indictment, he traded thousands of stocks for hundreds

             of clients. Cunzio argues that he cannot understand what act or acts form the basis of the

             other claims made by the Government.

                              1.      As to the Securities Fraud

                     The indictment charges the Defendants with conspiracy to commit securities fraud

             and two substantive counts of securities fraud. The elements of a conspiracy are: (1) an

             agreement with another to commit an offense; (2) knowledge that he engaged in the

             conspiracy with the "specific intent to commit the offenses that were the objects of the

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             conspiracy"; and (2) an overt act in furtherance of the conspiracy. U.S. v. Monaco, 194

             F.3d 381, 386 (2d Cir. 1999); United States v. Salameh, 152 F.3d 88, 145–46 (2d Cir.

             1998). Section 78j of Title 15 of the United States Code prohibits the use of any

             manipulative or deceptive device or contrivance in connection with the purchase or sale of

             any security registered on a national securities exchange. 15 U.S.C. § 78j (2005); accord

             17 C.F.R. § 240.10b-5 (2005).

                     In U.S. v. Sullivan, 2004 WL 253316, at *3 (S.D.N.Y. 2004), the court declined

             to uphold a challenge to the facial validity of an indictment charging conspiracy to commit

             securities fraud and securities fraud. In that case the defendant challenged the validity of the

             indictment because it failed to specifically state the false statement that was the basis of the

             indictment. In response, the court stated that an indictment merely needs to track the

             language of the statute and allege the facts essential to the crime. The court refused to

             dismiss the indictment for failing to allege the actual false statements that were made by the

             defendant. The court noted that the indictment need only identify the circumstances of the

             statement, such as the time and place of the transaction, and the particular subject matter

             involved in the statement to be sufficient. See id. at *6 (citing United States v. Bernstein,

             533 F.2d 775 (2d Cir. 1976)).

                     Here, the indictment clearly states all the elements and factual allegations necessary

             to charge the Defendants with conspiracy to commit securities fraud and securities fraud.

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             The indictment tracks the language of the statute by stating that the Defendants “did

             knowingly and willfully conspire to use and employ manipulative and deceptive devices and

             contrivances . . . in connection with the purchase and sales of the House Stock and other

             securities . . . .” The indictment also alleges that the Defendants committed the substantive

             act by using deceptive tactics in connection with Elec and Classica stock.

                     The indictment further sets forth the course and conduct of the scheme. It states that

             the Defendants would manipulate the “house stocks” through fraudulent representations,

             deceptive sales tactics, unauthorized trades and refusals to execute customer sale orders.

             The intent requirement is satisfied through the indictment’s allegation that, the firm paid, and

             the brokers accepted, excessive and undisclosed commissions and payoffs as an incentive to

             induce customers to buy the “house stocks.” As for an overt act, the indictment states that

             on October 11, 2001, Cunzio made false and misleading statements to a Donald & Co.

             customer concerning the Classica “house” stock. Similarly, on April 29, 2002, Patrick

             McFadden is alleged to have caused the sale of 10,000 shares of Classica stock in the

             account of a Donald & Co. customer.

                     The Court finds that the acts stated in the indictment adequately notify the

             Defendants of the time, place, and substance of the alleged false and deceptive acts.

             Moreover, the allegations in the indictment not only track the language of the statute, but




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             sufficiently allege each element of the conspiracy and substantive crime of securities fraud.

             Accordingly, the motion to dismiss the indictment as to the securities fraud charges is denied.

                              2.      As to Money Laundering

                     Cunzio, along with other Defendants, are charged with conspiracy to lauder money.

             The indictment alleges that the Defendants “did knowingly and intentionally conspire to

             conduct and attempt to conduct financial transactions . . . which in fact involved the

             proceeds of specified unlawful activity, to wit: securities fraud . . . .” Section

             1956(a)(1)(A)(i) of Title 18 of the United States Code prohibits anyone from conducting or

             attempting to conduct a financial transaction that involves the proceeds of a specified

             unlawful activity when that person knows that the transaction is designed in whole or in part

             to conceal or disguise the nature, the location, the source, the ownership, or the control of

             the proceeds of specified unlawful activity. Id.

                     The Court finds that the indictment not only tracks the language of the statute but

             also alleges the means by which the money laundering conspiracy was carried out.

             Specifically, the indictment states that the Defendants would accumulate the profits of the

             fraudulent scheme in investment accounts held at Donald & Co. These accounts were held

             in their own name and in the names of nominees and friends. The money was placed in

             those accounts with the intent of concealing




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             the profits. Accordingly, the motion to dismiss the money laundering conspiracy count is

             denied.

                       B.      Motion for a Bill of Particulars

                       Cunzio and McFadden seek a bill of particulars and have attached a Demand for

             Bill of Particulars that requests specific information about the manipulative and deceptive

             acts and practices of Cunzio. Rule 7(f) “permits the defendant to seek a bill of particulars in

             order to identify with sufficient particularity the nature of the charge pending against him,

             thereby enabling [the] defendant to prepare for trial, [and] to prevent surprise . . . .” United

             States v. Bortnovsky, 820 F.2d 572, 574 (2d Cir. 1987); United States v. Oskowitz, 294

             F. Supp. 2d 379 (E.D.N.Y 2003).

                       To obtain a bill of particulars, the defendant must show that the charges of the

             indictment are so general that they do not advise him of the specific acts of which he is

             accused. See United States v. Torres, 901 F.2d 205, 234 (2d Cir. 1990); United States v.

             Walsh, 194 F.3d 37, 47 (2d Cir. 1999). The decision to grant or deny a defendant’s

             request for a bill of particulars is within the sound discretion of the trial court. United States

             v. Panza, 750 F.2d 1141, 1148 (2d Cir. 1984).

                       As the Second Circuit has stated in Torres:

                       The function of a bill of particulars is to provide defendant with information
                       about the details of the charge against him if this is necessary to the preparation
                       of his defense, and to avoid prejudicial surprise at the trial. A bill of particulars

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                     should be required only where the charges of the indictment are so general that
                     they do not advise the defendant of the specific acts of which he is accused.
                     Whether to grant a bill of particulars rests within the sound discretion of the
                     district court. Acquisition of evidentiary detail is not the function of the bill of
                     particulars. So long as the defendant was adequately informed of the charges
                     against him and was not unfairly surprised at trial as a consequence of the
                     denial of the bill of particulars, the trial court has not abused its discretion.

             Torres, 901 F.2d at 234 (quotations and citations omitted) (emphasis added).

                     The Court finds that the Indictment is sufficiently specific as to the essential

             elements of the allegations charged in the indictment. Accordingly, the motion for a bill of

             particulars is denied.

                     C.       Motions to comply with discovery under Fed. R. Crim. P. 12 and 16

                     Cunzio believes that there remains a number of items that the Government has failed

             to produce during discovery. The items include personal papers and documents,

             employment records, and payroll records. Cunzio also seeks an order directing the

             Government to identify “all informants, operatives, witnesses and cooperating individuals.”

             Furthermore, Cunzio’s motion also asks for plea agreements, prior inconsistent statements,

             pretrial services reports and other items. Cunzio argues that this material is essential in his

             defense because he may be the unwitting victim of the conduct of principals and other

             persons for whom he worked and otherwise conducted business.

                     The Government states that it intends to comply with its obligations to produce

             material pursuant to the “Jenks Act,” and Giglio, and Brady material, in advance of the trial.

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             However, the Government contends that there is no basis for the defendant’s instant

             request. Moreover, the Government states that the information requested goes well beyond

             what is required to be disclosed under the Jenks Act and Giglio and would amount to a

             roadmap of its case.

                     Under the Federal Rules of Criminal Procedure a defendant is not automatically

             entitled to a list of the Government's witnesses prior to trial. See United States v. Bejasa,

             904 F.2d 137, 139 (2d Cir. 1990). The court has discretion to order pretrial disclosure of

             the identity of the Government’s witnesses. See United States v. Cannone, 528 F.2d 296,

             300 (2d Cir. 1975). “A defendant is entitled to disclosure of the Government's witnesses

             only if he makes ‘a specific showing that disclosure [is] both material to the preparation of

             his defense and reasonable in light of the circumstances surrounding his case.’ ” U.S. v.

             Ojeikere, 299 F. Supp.2d 254, 258 (S.D.N.Y. 2004); (quoting Cannone, 528 F.2d at

             301).

                     Here, the Defendants state that they need the witness list because they are innocent,

             unwitting victims of the conduct of the principals and other persons who they worked with at

             Donald & Co. The Defendants contend that the information is essential in the preparation of

             their defense.

                     After review of all the charges in the indictment, the Court finds that the Defendants

             are entitled to a witness list. This matter involves non-violent white-collar charges based in

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             large part on false filings and statements. The Government’s interest in protecting the

             identity of prospective witnesses prior to trial is not present considering the non-violent

             nature of the alleged crimes. Further, the preparation of defense is likely to be complex and

             difficult due to the vase numbers of records and potential witnesses involved in this case.

             Without a witness list, the Defendants would have to interview potentially hundreds of past

             employees and other individuals who might testify about the alleged criminal conduct in this

             case.

                      At the Court’s oral rendering of this decision and order, the Court ordered the

             Government to produce the witness list within ten days. The Court now amends that

             decision to allow the Government additional time to prepare the witness list. Accordingly,

             the Government is ordered to produce its witness list within thirty days of the date of this

             order.

                      In order to receive information on confidential informants and cooperating

             individuals, the defendant must show that absent disclosure, the defendant will be deprived

             of his right to a fair trial. See United States v. Fields, 113 F.3d 313, 324 (2d Cir. 1997). It

             is well-settled that the Government is not required to identify a confidential informant "unless

             the informant's testimony is shown to be material to the defense." United States v. Saa, 859

             F.2d 1067, 1073 (2d Cir. 1988). In order to demonstrate such materiality, the defendant




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             must show more than the fact that “the informant was a participant in and witness to the

             crime charged." Id.; see also Ojeikere, 299 F. Supp.2d at 261–62.

                      Here, the defendant’s proffered explanation as to why he needs the requested

             information on cooperating individuals and informants is insufficient. The defendant merely

             states that the Government’s witnesses likely participated in the charged scheme. This bare

             assertion is insufficient to order the Government to produce this confidential informant

             information. Accordingly, the motion is denied without prejudice.

             IV.      CONCLUSION

                      Having reviewed the submissions of the parties, it is hereby

                      ORDERED, that the Defendants’ motion to dismiss the indictment is DENIED;

             and it is further

                      ORDERED, that the Defendants’ motion to grant a bill of particulars is DENIED;

             and it is further

                      ORDERED, that the Defendants’ motion to comply with discovery under Fed. R.

             Crim. P. 12 and 16 is DENIED in part and GRANTED in part as set forth in this order.




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                    SO ORDERED
             Dated: Central Islip, New York
                    May 4, 2005

                                                                /s/ Arthur D. Spatt
                                                             ARTHUR D. SPATT
                                                           United States District Judge




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